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               Exhibit "H"

                  Tweets
              DEFVG000001;
         DEFVG000016- DEFVG000025
  Lisa Tait• 0 @I ... • 31/12/20 •••
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  So what is Rina Oh, who claims
  to been Epstein's girlfriend,
  saying here about Australia? Is
  she talking about convicts?
  Most of them stole bread &
  knocked off a horse or two. As
  we say phuleez explain.
  @ohreallytruly @VRSVirginia


         •
         -
                   Rina Oh Amen @Mozieamen • 1d ••
                   Replying to @Mozieamen
                   @MollySkyeBrown and 2 others
                   Australia is traditionally the
                   destination made for rapists and
                   murderers. At the end of Guiffre's
                   manuscript she stands over a Sea
                   full of Cains. She's Venus folks. The
                   idol for Lucifer that grooms
                   pedophiles and murderers. Her
                   book is based on Cupid's love
                   which is pedophilia.
                                                                       DEFVG000001


  r"'I   -         ..... --.    .                                                    I.
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                                                                 DEFVG000016
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                                                                 DEFVG000017
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                                                                 DEFVG000018
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                                                                 DEFVG000019
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                                                                 DEFVG000020
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                                                                 DEFVG000021
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                                                                 DEFVG000022
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                                                                 DEFVG000023
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                                                                 DEFVG000024
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                                                                 DEFVG000025
